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        Exhibit A
2/26/22, 2:17 PM      Case 1:21-cr-00601-JDB
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                     OUR                                                                                            LOGIN
                   MISSION                                                                          


MIGRATION NEWS



Threat overrides servicemembers' vaccine fears
BY MARK OLIVA •             • FEBRUARY 18, 2003




Marine Lance Cpl. Dave Ticas, with 15th Marine Expeditionary Unit, shows his smallpox blister, just
above his Marine Corps tattoo. The blister is a sign that the inoculation took effect and Ticas&#39;s

body is building immunity against smallpox exposure. (Mark Oliva / S&S)
https://www.stripes.com/news/threat-overrides-servicemembers-vaccine-fears-1.2158                                           1/9
2/26/22, 2:17 PM      Case 1:21-cr-00601-JDB
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             ABOARD USS TARAWA &#8212; They came by the thousands. Sleeves
             rolled up past their shoulders, tiny white blisters poking up from upper
             arms. The half-inch pustules were telltale signs that the smallpox
             inoculations had taken effect.

       Immunity against deadly toxins was building up in their bodies. It was
       also a signal that fears of adverse reactions to drugs designed to counter
       chemical and biological attacks were far-less pronounced over the past
few weeks than they were several years ago when some servicemembers opted to
face court-marital rather than be vaccinated.

&#8220;I have all my shots, both anthrax and smallpox,&#8221; said Marine Staff
Sgt. Steven Draper, assigned to 15th Marine Expeditionary Unit. &#8220;I heard a
couple of wild stories on TV, but I wasn&#8217;t worried.&#8221;
 Draper, a Marine for 12 years, paused, and then recounted his first anthrax shot.
https://www.stripes.com/news/threat-overrides-servicemembers-vaccine-fears-1.2158
                                                                                  EXHIBIT A - 2                                2/9
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He admitted there were some initial concerns about how his body would react.

&#8220;After the first shot, I was at ease,&#8221; he said. &#8220;There were no
bad reactions.&#8221;

Still, he said fear of exposure to agents was the driving factor for him to line up
for the vaccinations, not fears of punishment for disobeying orders.

&#8220;I got them because of the threat of the weapons,&#8221; Draper
explained. &#8220;I&#8217;d rather have a reaction to the shot than a reaction to
the agent. The shot might make me sick, but the agent could kill me.&#8221;

Draper had his first smallpox vaccination as a child. Standing in line, shirt sleeve
rolled up to reveal a blister, he said he was never worried about reacting to the
inoculation, three small pinpricks into the skin of his left shoulder. He endured
the typical reactions: minor swelling, itching and a blister he couldn&#8217;t
touch or wash until the scab finally fell off. Touching the open sore left after the
inoculation could transfer the live cowpox vaccine to open cuts or the eyes, nose,
mouth or even the genitals.

&#8220;It was just uncomfortable, that&#8217;s all,&#8221; Draper said.
&#8220;You just have to deal with it. If it works, then it was worth it.&#8221;



Still, Draper said there is the outside possibility that the vaccines might not be
effective. He knows there is a possibility that Iraq is stockpiling strains of the
agents that are more potent than those used to immunize him.

And there is no vaccine against nerve agents. Iraq is believed to have stores of VX
and Sarin gas, agents that kill within hours of exposure. Draper picked up a

 package of injectors &#8212; atropine &#8212; that he will have to shoot into his
https://www.stripes.com/news/threat-overrides-servicemembers-vaccine-fears-1.2158
                                                                                  EXHIBIT A - 3                  3/9
2/26/22, 2:17 PM   Case 1:21-cr-00601-JDB
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leg if he becomes exposed to the deadly nerve gasses.

&#8220;I hope they work,&#8221; Draper said. &#8220;Hopefully, they will
protect us. I&#8217;d still get the shots now if I didn&#8217;t have them before.
I&#8217;d rather be safe than sorry.&#8221;

Critics warn that anthrax vaccines can have long-lasting effects, attacking the
lymph nodes. The exact causes of Gulf War syndrome &#8212; former military
members report suffering loss of hair, exhaustion and even suppressed immune
responses &#8212; are still unknown.



But that doesn&#8217;t worry Sgt. Cereius Greene, a Marine of nine years.
He&#8217;s gotten all six anthrax and the smallpox shots. Although he
doesn&#8217;t have children, he said the risk of passing any lingering effects or
suffering symptoms later in life is a trade-off to the immediate threat of exposure.

&#8220;I had no concerns when I got the shots,&#8221; Greene explained.
&#8220;I thought it was something that had to be done. If there are effects,
it&#8217;s just something I have to deal with. Right now, I have to worry about
the job at hand.&#8221;

That job in front of Greene and the rest of the Marines in the 15th MEU is to be
ready to square off against an Iraqi force armed with what U.S. intelligence says
is tons of the deadly toxins. But it&#8217;s also a threat that has already become
a reality within the United States. Anthrax spores sent through the mail
contaminated offices in the Hart Senate Office Building and killed postal workers
in Washington, D.C.

&#8220;I don&#8217;t know if the threat is real. This is a precaution just in
case,&#8221; said Marine Cpl. Felix Hansy. &#8220;But look at what happened
 with the anthrax in the mail. I feel 95 percent sure these shots will protect us. I
https://www.stripes.com/news/threat-overrides-servicemembers-vaccine-fears-1.2158
                                                                                  EXHIBIT A - 4                  4/9
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         Exhibit B
                                    FITREP ID #306339
                      Case A-PES
                           1:21-cr-00601-JDB
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FOUO - Privacy sensitive if filled in




TICAS                                         DAVID         A             SGT


SAN       20123          3D CIVIL AFFAIRS GROUP


AR        20051001 20060930                     C       FALLUJAH CMOC NCOIC/CAMP COMMANDANT


                                                                                      X



           SN                           72                  SMCR
           A225                         185




 ASPACIO JR                                   RA    USMC              LTCOL     FCMOC DIRECTOR


 MCCARTHY                                     MV    USMC              LTCOL     3RD CAG DET 3 CO

 Civil Affairs NCO from 10/1/05 - 3/14/06
 Fallujah CMOC SNOCIC from 3/15/06 - 6/1/06
 Fallujah CMOC NCOIC/Camp Commandant 6/2/06 - 9/30/06

 -Coordinate and participate in CA team operations and training
 -Maintain accountability and ensured security and welfare of team personnel in combat
 -Provide input to team leader regarding staffing mission commitments
 -Order fuel, supplements, bottled water, bulk water, and MREs for CMOC
 -Perform monthly safety inspection of work and berthing areas.




 -Coordinated and participated in CA operations and training
 -Successfully maintained accountability and welfare of team personnel in combat
 -Successfully completed, with minimal supervision, all other training and operational
 requirements, as directed by the chain of command in support of CAG missions, training
 and operations
 -Fallujah CMOC SNCOIC from March 2006 - May 2006
 -Maintained security of team in hostile combat environment
 -Supported RCT-5 by doing CA work in the middle of the city of Fallujah at the CMOC
 -While at the FCMOC, team badged over 12,000 Iraqis while still carefully screening the
 locals so AIF would not get badge at the FCMOC
 -Responded on several QRF and on two separate times, obtained PID and returned fire
                                                                                 EXHIBIT B - 1
 -While living at the FCMOC, compound was hit with over 225 mortars thru out the
 deployment and SAF attacks almost on a daily basis
        Case 1:21-cr-00601-JDB Document 33-1 Filed 07/07/22 Page 8 of 66
TICAS                      DAVID                   A                                            20051001       20060930




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        Case 1:21-cr-00601-JDB Document 33-1 Filed 07/07/22 Page 9 of 66
TICAS                          DAVID                 A                                             20051001       20060930




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TICAS                    DAVID      A                       20051001 20060930




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             A-PES 5.4.12.0)   FOR OFFICIAL USE ONLY - Privacy sensitive when filled in.   FITREP ID #306339
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TICAS                       DAVID       A

Section A.3.c This is a combat fitness report in combat operations in the Al-Anbar
Province, Iraq from 20060316 to 20060917.

Sergeant Ticas is a superb NCO. As Camp Commandant he ordered supplements, fuel,
bottled water, bulk water, and MRE for CMOC personnel. He helped badge local nationals
and was instrumental in Fallujah Expo. He filled out rapid request for Seabees to
install air conditioners and fix electrical wires. H demonstrated his can-do attitude
by building a door to CAG berthing, install A/Cs, and trouble shoot electrical problems.
He scheduled maintenance of CMOC generators and participated in convoys to and from
CMOC. He has stood watch, manned QRF posts and contributed to overall security of CMOC.
Sgt Ticas is highly recommended for promotion.



                                                     Electronically Signed By
                                                         Regino A Aspacio Jr                             2 0 0 6     1 0   2 0




               X                                                                          X




                                                                                  X




Quiet, diligent, and effective. Worked hard to keep the CMOC running smoothly and
efficiently. Cooperated well and kept his chain of command informed. Led his Marines
by example and with much concern for their welfare. Strove to make the mission exceed
beyond what was expected. Neither boisterous nor complaining, takes adversity in
stride. Enjoyed his duties and worked well coordinating all aspects of the mission at
the CMOC. Fully capable of more responsibility and promotable with his peers.



                                                     Electronically Signed By
                                                      Michael V Mccarthy                                 2 0 0 6     1 0   2 3




                                                                                                 EXHIBIT B - 5
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         Exhibit C
                                    FITREP ID #1115997
                     Case 1:21-cr-00601-JDB
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TICAS                                         DAVID             A           SGT


                         I-I STF 2DBN 23DMAR 4THMARDIV


AR        20100521 20100930                     N        SUPPLY ADMINISTRATION CHIEF


                                                            X                           X



           EN                           72                   AR       Y00   NO PREFERENCE / AS DIRECTED
           NREQ                         201                           Y00   NO PREFERENCE / AS DIRECTED
           A297                                                       Y00   NO PREFERENCE / AS DIRECTED


 TSUKANO                                      JM    USMC               CAPT       H&S COMPANY I&I


 NASH                                         CB    USMC               LTCOL      BATTALION I&I

 -Perform the duties of the Supply Administration Chief.
 -Oversee the procurement, tracking and receipt of all classes of supply for the
 battalion while serving as the Due and Status File (DASF) clerk.
 -Perform bimonthly reconciliation of all requisitioned Equipment Repair Orders (ERO)
 with commodity managers.
 -Inspect and Instruct Selected Marine Corps Reserve (SMCR) personnel on all required
 supply duties and responsibilities.
 -Manage the Mechanized Allowance List (MAL) and oversee the Consolidated Memorandum
 Receipts (CMR) and the Monthly Serialized Inventories (MSIs).
 -Participate in and support Community Outreach Programs to include; color guards,
 funeral honors and static displays.




 -Oversaw the processing and shipping of unserviceable equipment totaling $52,320 to
 Defense Reutilization and Marking Office (DRMO).
 -Assisted with the supervision of the Wall to Wall inventory of all battalion assets
 valued at over $28 million dollars.
 -Reduced the Loaded Unit Balance File from 74 NSN's to 37 NSN's through causative
 research and adjusted accordingly.
 -Served as the battalion Police Sergeant during Operation BALTOPS 2010 in Tapa, Estonia.
 -Supervised the implementation and execution of the battalions wash down plan for 55
 pieces of rolling stock during Operation BALTOPS 2010 prior to U.S. Customs inspections.
 -Oversaw the procurement and distribution of over 200 Marine Corps Running Suits through
 for H&S Co, placing unit readiness at 92%.
                                                                                   EXHIBIT C - 1
 -Submitted 14 Critical Asset Rapid Deployment Force (CARDF) requests which saved the
 battalion over 100K of its own funds during the past fiscal year.
 -Actively participated in 13 funeral details, 7 color guards and 2 static displays.
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TICAS                       DAVID                   A                                            20100521        20100930




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        Case 1:21-cr-00601-JDB Document 33-1 Filed 07/07/22 Page 15 of 66
TICAS                           DAVID                 A                                             20100521        20100930




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                                                                                                  EXHIBIT C - 3
              A-PES 5.4.12.0)      FOR OFFICIAL USE ONLY - Privacy sensitive when filled in.   FITREP ID #1115997
        Case 1:21-cr-00601-JDB Document 33-1 Filed 07/07/22 Page 16 of 66
TICAS                    DAVID      A                       20100521 20100930




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                                                                                              EXHIBIT C - 4
             A-PES 5.4.12.0)   FOR OFFICIAL USE ONLY - Privacy sensitive when filled in.   FITREP ID #1115997
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TICAS                       DAVID       A                       20100521 20100930

Sgt Ticas is mature, well regarded, and technically proficient Supply Administration
Chief. MRO is ready to manage an entire Supply Section and can do so at the very
soonest. MRO managed the procurement of various critical items, that have significantly
improved the operational capability of the Battalion. These items included over 50 sets
of Dress Blue Overcoats, 200 sets of the Marine Corps running suit, and the DRMO of over
$52,000 in end items. In addition, MRO managed the reduction of the LUBF from 74 NSNs
to 34, a significant achievement coupled with the high operational tempo H&S Company
maintains. MRO has conducted numerous funeral honor and community service events, that
has improved the Marine Corps image in the local community. Recommend MRO for retention
and promotion with his peers. Directed Comments; Sect A, Item 6a: MRO received a
Letter of Appreciation, August 08, 2010.



                                                     Electronically Signed By
                                                         Julian M Tsukano                                2 0 1 0      1 0   0 5




               X                                                                          X




                                                                                  X




Professional, knowledgeable, and hard-working; MRO continues to thrive in this
challenging independent duty. MRO has demonstrated mastery of his MOS, serving as the
Supply Chief. His dedication and attention to detail were evident in his management of
over 200 repair parts, the Marine Corps Running Suit issue, DRMO turn-in, and wall to
wall inventory. MRO demonstrated his flexibility by filling the billet of Battalion
Police Sergeant during an OCONUS AT. This developing Marine leader possesses unlimited
potential. Retain and promote with peers.


                                                     Electronically Signed By
                                                      Christophe B Nash                                  2 0 1 0      1 0   1 2




                                                                                                 EXHIBIT C - 5
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         Exhibit D
                                    FITREP ID #1942160
                     Case 1:21-cr-00601-JDB
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TICAS                                         DAVID          A                SSGT


                         1ST CIVIL AFFAIRS GROUP MARFORRES


CH        20140606 20140825                     N        SUPPLY CHIEF


                                                                                           X



           EN                           72
           NMED                         202
           NMED


 WEBB                                         PB    USMC                LTCOL        INSPECTOR-INSTRUCTOR


 SIMON                                        KD    USMC                COL          CHIEF OF STAFF

 -Inspect and Instruct Selected Marine Corps Reserve (SMCR) personnel on all required
 supply duties and responsibilities.
 -Operates Fiscal management systems: Memorandum Fiscal Services, Marine Reporting Order
 Writing, SABRS, DTS, TAMIS and Citibank System.
 -Supervises the Supply sections commodities; MAL,CMR's, DASF, Chow, Billeting, and DRMO;
 oversee the procurement, tracking and receipt of all classes of supply for 1st Civil
 Affairs Group.
 -Unit Funds Manager/Approver
 -Approving Official for UTC program
 -Provides logistic support to 1st CAG and LEB Det 1




 -Requisitioned and received optics, weapons and personnel protective equipment for LE
 Det 1.
 -Supervised the unit's annual Wall to Wall inventory of all unit's assets worth $3.5M.
 -Planned and supervised the execution of all logistical requirements for 3 drill
 weekends and the unit Annual Training in 29 Palms.
 -Ordered and tracked over 142 repair parts and Additional Demands in support of the
 unit's maintenance sections.
 -Processed all transactions for optics and weapon transfer while maintaining 100%
 accuracy of unit's CRANE Report and MAL.
 -Assisted in the preparation of the Supply Officer's and Commanding Officer's
 certificate of relief.
                                                                                      EXHIBIT D - 1
        Case 1:21-cr-00601-JDB Document 33-1 Filed 07/07/22 Page 20 of 66
TICAS                       DAVID                   A                                            20140606        20140825




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        Case 1:21-cr-00601-JDB Document 33-1 Filed 07/07/22 Page 21 of 66
TICAS                           DAVID                 A                                             20140606        20140825




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        Case 1:21-cr-00601-JDB Document 33-1 Filed 07/07/22 Page 22 of 66
TICAS                    DAVID      A                       20140606 20140825




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            Case 1:21-cr-00601-JDB Document 33-1 Filed 07/07/22 Page 23 of 66
TICAS                       DAVID       A                       20140606 20140825

Directed comment: Sect A; Items 8B/C; SNM is not medically qualified to complete the
PFT/CFT due to post shoulder surgery. Excellent performance as the I-I and reserve unit
Supply/Fiscal Chief. SSgt Ticas partially covered the gap in the I-I S-4 Officer billet
and ensured accurate management of both fiscal and supply programs without drop in
support. Over the short reporting period, SNM also started initial steps to close out
the FY14 fiscal budget, developed the FY15 initial budget and conducted a total account
inventory in order to successfully complete the supply account "Certificate of Relief"
in support of the I-I command turnover. In conjunction with his normal duties, SNM
provided direct support to the unit's drill and annual training period, ensuring all
supply and contracting functions fully supported training and operations. Good fitness
and appearance; retain and promote with peers.



                                                     Electronically Signed By
                                                         Paul B Webb                                     2 0 1 4      0 8   2 1




               X                                                                          X




                                                                                  X




Concur with RS's comments and evaluation. Over this short period, SSgt Ticas partially
filled critical functions of the gapped I-I S-4 officer billet and effectively managed
both the fiscal and supply accounts. SNM's efforts resulted in full fiscal and supply
accountability enabling an accurate and complete I-I command turnover. Solid Supply
Chief - retain and promote with peer group.




                                                     Electronically Signed By
                                                      Kent D Simon                                       2 0 1 4      0 9   2 2




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         Exhibit E
                    Case 1:21-cr-00601-JDB Document 33-1 Filed 07/07/22 Page 25 of 66
CAUTION: NOT TO BE USED FOR                                         THIS IS AN IMPORTANT RECORD.                           ANY ALTERATIONS IN SHADED AREAS
IDENTIFICATION PURPOSES                                                      SAFEGUARD IT.                                               RENDER FORM VOID
                                     CERJIFI< ATI OF RELEASE OR DISCHARGE FROM ACTIVE DUTY

                                                            12.
                                         Thi� Repprt C Dntains Information Subject to the Privacy Act of 1974, As Amended.
1. NAME (last. First, Middle)                                     DEPARTMENT, COMPONENT AND BRANCH                                 3. s        CIAL SECURITY NUMBER
TICAS.DAVIDA.                                                                        USMCR-BI                                                      I        !
4a. GRADE, RATE OR RANK                 lb.
                               PA' GRJ DE                                5. DATE OF BIRTH (YYYYMMDD)          16.
                                                                                                       RESERVE OBLIGATION TERMINATION DATE
            SSGT                     E<                                           1981                 (YYYYMMDD)                   00000000
7a. PLACE OF ENTRY INTO ACTIVE DU h'                                     b. HOME OF RECORD AT TIME OF ENTRY (City and state. or complete address if known)
 BROOKLYN. NEW YORK 11252


Ba. LAST DUTY ASSIGNMENT ANDI MAJPR C OMMAND                                           b. STATION WHERE SEPARATED
 1 ST CW AFF GRP FHG MARFORRES. CAi P Pl NDLETON CA                                    SITE SPT (CAMPEN) I ST CIV AFF GRP FHG (20123)
 9. COMMAND TO WHICH TRANSFERRED                                                                                        10. SGLI COVERAGEL_j NONE
CMC (MMRP-16)                                                                                                                         AMOUNT: $ 400,000
11. PRIMARY SPECIALTY (List number. tit/ and years and months in                       12. RECORD OF SERVICE                        YEAR(S) MONTH($)    DAY(S)
                                                                                        a. DATE ENTERED AD THIS PERIOD
     specially. List additional specialty nunjbers nd titf,as involving periods of
     one or more years.)                                                                                                              2008           OJ            30
                                             I
3043, SUPPLY ADMIN ANTI OPER SPEC (Pt-,IOS                  14 YEARS. 01 MONTH          b. SEPARATION DATE THIS PERIOD                2015           04            29
                                                                                        c. NET ACTIVE SERVICE THIS PERIOD              07            03            00
                                                                                        d. TOTAL PRIOR ACTIVE SERVICE                  04            11            09
                                                                                        e. TOTAL PRIOR INACTIVE SERVICE                   02         05            10
                                                                                        f. FOREIGN SERVICE                                00         00            00
                                                                                        g. SEA SERVICE                                    00         00            00
                                                                                        h. INITIAL ENTRY TRAINING                      00            00            00
                                                                                        i. EFFECTIVE DATE OF PAY GRADE                2011           09            01
13. DECORATIONS, MEDALS, BA�GES CIT1 TIONS AND CAMPAIGN 14. MILITARY EDUCATION (Course til/e, number of weeks. and month and
    RIBBONS AWARDED OR AUT�ORI ED ( II penods of service)      year completed)
MARINE CORPS GOOD CONDUCT MEDA , S ECTED MARINE CORPS ENLISTED SUPPLY INTER.MEDIATE (30G). 05/20 J 0
RESERVE MEDAL (2). IRAQ CAMPAIGN l ED L (\V/1 STAR). LETTER OF
APPRECIATION (4), NA VY UNIT co�f,1DA ION. GLOBAL WAR ON
TERRORISM SERVICE MEDAL, CERjfIFICl,\TE� F APPRECIATION. SEA
SERVICE DEPLOYMENT RIBBON (31, NA ION L DEFENSE SERVICE
MEDAL. A&'v1ED FORCES EXPEDITION A Y M DAL (SE ASIA}, NAVY
AND MAR!l\'E CORPS ACHIEVEME1'{T Ml DAL . SEE RE:½ARKS.
15a. COMMISSIONED THROUGH SERVICE A ADEt,1Y                                                                    YES      X NO
  b. COMMISSIONED THROUGH ROTC SCH PLAR$HIP (10 USC Sec. 2107b)                                                     YES    X  NO
  c. ENLISTED UNDER LOAN REPAYMENT I ROG�AM (10 USC Chap. 109) (If yes. years of commitment:           )            YES    X  NO
16. DAYS ACCRUED LEAVE          17. EMBER WAS PROVIDED COMPLETE DENTAL EXAMINATION AND ALL APPROPRIATE
                              1 M
                                                                                                                        YES NO
     PAID                            DENTA{SERVICES AND TREATMENT WITHIN 90 DAYS PRIOR TO SEPARATION
               o.os                                                                                                              X

18. REMARKS
                                           j
SERIAL# 4002525 /EDIPI: !24251844�. ITEf.1 NC . 13 CONT. ARl\1ED FORCES RESERVE MEDAL (W/'M' DEVICE), GLOBAL WAR ON TERRORISM
EXPEDITIONARY MEDAL (IRAQ}, PRESniENl AL UNIT CITATION-NAVY, COMBAT ACTION RIBBON (IRAQ), EXPERT RIFLE QUALIFICATION
BADGE (4). GOOD CONDUCT MEDP L PE UOD �OMMENCES 201011 I 9. DATE DETACHED SEPARATION ACTIVITY: 20150429 8.00 DAYS TRAVEL
TIME. VA 94 l 1/5202/0000



The information contained here in is subje;t to o mput r matching within the Department of Defense or with any other affected Federal or non-Federal agency for verification
purposes and to determine eligibility for, a1 d/or <ontinued compliance wilh. the requirements of a Federal benefit prooram.
19a. MAILING ADDRESS AFTER SEPAitp.Ttc N (Include ZIP Code)                               b. NEAREST RELATIVE (Name and address - include Zip Code)



20. MEMBER REQUESTS COPY 6 �E S •NT O (Specify state/locality)  NY      OFFICE OF VETERANS AFFAIRS                  X YES       NO
  a. MEMBER REQUESTS COPY 3 BE S �NT O THE CENTRAL OFFICE OF THE DEPARTMENT OF VETERANS AFFAIRS                     x YES       NO
     !WASHINGTON DCl
.21a. MEMBER s       RE          1>. DtITE      22a. OFFICIAL AUTHORIZED T< GN j yped name, grade, title, signature) b. DATE
              �/
                                                                            rE
                                    (Y� WMMDD)                                                                          (YYYYMMDD)
                                                                                     \' I                                    l
-12��                                             r2� SOUJ5
                                                 LTCOL CRAIGC. ULLMAN
                                                                          j     l. ,;                                   \A.AA .
                                                                                                                          20150305

                                                                                                          \         \
                                           $PEC AL, DDITIONAL INFORMATION (For use by auth�ed �ncies only)
23. TYPE OF SEPARATION                                                                 24. CHARAC_TER OF SERVICE (Include upgrades)
                           I
                  TEMPORARII. YIEID ED                                                                                   HONORABLE
25. SEPARATION AUTHORITY   \
                   MARCORS�PM N 85p1
                                                        I                              26. SEPARATION CODE
                                                                                                         SEKI
                                                                                                                              27. REENTRY CODE
                                                                                                                                                     NIA
28. NARRATIVE REASON FOR SEfAR, TIO�
 DISABILITY, TEMPORARY (ENH�CEI
29. DATES OF TIME LOST DURIN THll:i PERIOD (YYYYMMDD)                                                                              30. MEMBER REQUESTS COPY 4
                            G1                                                                                                         (Initials)    'j)�
NONE
DD FORM 214, AUG 2009                                       PREVIOUS EDITION IS OBSOLETE.                                                                 MEMBER-4
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         Exhibit G
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        Date Printed            Findings of the Physical Evaluation Board Proceedings
        14Jan2015                                                                                                          Page I

                                                          PERSONNEL DATA
 I. Name                                    2.SSN               3. Rate/Rank        4. Service   5.MOS                6.LOS
 TICAS, David A .                                                      SSGT           USMC                            11 yrs. 10 mos.


                                              PHYSICAL EVALUATIO N BOARD
 7. The Board convened at: NCPB, Washington DC, 14 Jan 2015 to consider the MedBoard originated at: Camp Pendleton,CA
!Board Membership Consisted of:
     Va-DRO, USN, Officer
     Va-ORO, USN, Officer
     Va-ORO, USN, Officer

                                                               FINDINGS
 8. Finding             9. Recommende d Disposition                                                       10. Combined Disability Rating
          Unfit                 To Be Placed on the Temporary Disability Retired List                                   80%
                                                      DIAGNOSES AND RATINGS
 Category I: Unfitting Conditions
                                                                            I       VA Diagnostic Codes           I   Disability Rating or
                                                                                                                      Reason if not rated
 1. PTSD *                                                                  9411                            70%              70%
 1.1.· MDD . Related Category 2 Diagnosis.
2. SHOULDER PAIN, RIGHT*                                                    5202                            20%              20%
 Category III: Conditions that are not separately unfitting and do not contribute to the unfitting condition(s)

3. ULNAR NEUROPAT HY
4. ANKLE PAIN
 5. CHRONIC PAIN, POSTOPERA TIVE

                                                       ADDITIONA L FINDINGS
 11. a.    The disability was incurred while entitled to receive basic pay.
     b.    The disability did not occur during a period of unauthorized absence.
     c.    The disability is not the result of intentional misconduct or willful neglect.
     d.    The disability did occur after 14 Sep 1978.
 12. The disability may be permanent.
 13. The disability did not result from a combat related injury as defined by Title 26 U.S. Code Section 104(b)(3).
 14. All board members concurred.




                                                                     By Direction
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   INFORMAL                                                                                         Ref. # F2 l 5nm00600
   Date Printed
                          Findings of the Physical Evaluation Board Proceedings                            Page2
   14 Jan 2015

                                                    PERSONNEL DATA
1. Name                                2. SSN               3. Rate/Rank   4. Service     S.MOS       6.LOS
TICAS, David A                                                  SSGT         USMC                    11 yrs. 10 mos.

                                                 AUTHENTICATION
                                    PHYSICAL EVALUATION BOARD MEMBERSHIP
  Medical Officer: VA-DRO, Va-DRO, USN, Officer
 Presiding Officer: VA-DRO, Va-DRO, USN, Officer
    TI1ird Officer: VA-DRO, Va-DRO, USN, Officer
                                                   FINDINGS COMi'rfENTS



                                                AUTHENTICATION SIG"J\'ATURE




                                                                                        Date


                                                    REVIEW SIGNATURES
                                                        Signature                       Date
                          QA Review:                                               I 4 ,Tc.n , tf

                          Legal Review:
                          Required: Yes/ No


                          OJAG Review:
                          Required: Yes/ No
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